                                 Case 6:18-bk-05863-KSJ                           Doc 18            Filed 10/15/18        Page 1 of 7
                                                                         BANKRUPTCY COURT
                                                              MIDDLE DISTRlCT OF FLORlDA
                                                                  ORLANDO DIVISION
INRE:

      Debtor(s) PALMER NASH                                                                                                       NO.: 6: 18-bk-05863-KSJ


                                                                    AMENDED CHAPTER                         PLAN

A.
Debtor must check one box on          line to state whether or not the Plan includes each of the
following items. If an     is checked as "Not Included," if both boxes are checked, or if neither box
is checked, the provision will be ineffective if set out later the Plan.




B.
Plan payments include the Trustee's fee of 10% and shall begin 30 days from petition
filing/conversion date. Debtor shall make payments to the Trustee for the period of 60
months. If the Trustee does not retain the full 10%, any portion not retained will be
disbursed to allowed claims receiving payments under the Plan and may cause an
increased distribution to the unsecured class of creditors

                                                                   from
                        ..;:;;.;;;.=::..:..::..::.....­_ _ _ _ _   months




                      L

        Fee                  $4,500.00           Total Paid Prepetition                                             Balance Due     $2,77354


Mi\1M Fee                    $2,500.00           Total Paid Prepetition                     $0.00                   Balance Due     $2,500.00


                 Monitoring                 at                     $30.00           per Month.



Attorney's Fees Payable Through Plan at                                                   $130.00          Monthly (subject to adjustment).




1 All references 10 "Debtor" include and refer 10 both of Ihe debtors in a case filed jointly by two individuals.                               lof6
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~NONE                 2. DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A»).


~]NONE                3.         PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).

                      Last 4 Digits of Accl. No.            Creditor                                          Total Claim Amount


                      7689                                  Internal Revenue Service                                 $2,500.00



               4.     TRUSTEE FEES. From each payment received from Debtor, the Trustee shall receive a fee,
the percentage of which is fixed periodically by the United States Trustee.



                5.      SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under the Plan,
other than amounts allocated to cure arrearages, shall be deemed adequate protection payments. The Trustee shall
disburse adequate protection payments to secured creditors prior to confirmation, as soon as practicable, if the Plan
provides for payment to the secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has
filed a proof of claim for the secured creditor under § 50 I (c), and no objection to the claim is pending. If Debtor's
payments under the Plan are timely paid, payments to secured creditors under the Plan shall be deemed contractually
paid on time.


~     NONE                 (a)     Claims Secured by Debtor's Principal Residence Which Debtor Intends to Retain ­
                           Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid Through the
                           Plan. If the Plan provides for curing prepetition arrearages on a mortgage on Debtor's principal
                           residence, Debtor will pay, in addition to all other sums due under the proposed Plan, all regular
                           monthly postpetition mortgage payments to the Trustee as part of the Plan. These mortgage
                           payments, which may be adjusted up or down as provided for under the loan documents, are due
                           beginning the first due date after the case is filed and continuing each month thereafter. The Trustee
                           shall pay the postpetition mortgage payments for Debtor's principal residence on the following
                           mortgage claims:

~     NONE              (b)      Claims Secured by Other Real Property Which Debtor Intends to Retain - Mortgage
                        Payments, HOA and Condo Association Payments, and Arrears, if any, Paid Through the
                        Plan. If the Plan provides to cure prepetition arrearages on a mortgage, Debtor will pay, in addition
                        to all other sums due under the proposed Plan, all regular monthly postpetition mortgage payments
                        to the Trustee as part of the Plan. These mortgage payments, which may be adjusted up or down as
                        provided for under the loan documents, are due beginning the first due date after the case is filed and
                        continuing each month thereafter. The Trustee shall pay the postpetition mortgage payments on the
                        following mortgage claims:




1 All references to "Debtor" include and refer to both of the debtors in a case filed jointly by two individuals.
                                                                                                                                        Page 2 of 6
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o     NONE
                         (c)    Claims Secured by Real Property - Debtor Intends to            Mortgage Modification. If
                         Debtor obtains a modification of the mortgage, the modified payments shall be       through
                         Plan. Pending the resolution of a          modification request, Debtor shall make the following
                         adequate protection payments to the Trustee: (I)     homestead property, the lesser of 31 % of
                         monthly                         non-filing              (after deducting homeowners association
                               or the normal          contractual mortgage payment; or (2) for non-homesteacl, income-
                         producing           75% of the gross rental income generated from the property.

                                      Last Four            Creditor                                   Collateral Address
                                            of                                                                                       Adequate Protection
                                      Acct. No.                                                                                      Payment

                              L       1234                 Fannie Mae                                 1214 N McDonald Ave            $759.00
                                                                                                              FL 32724




      NONE 	             (d)      Claims Secured by Real Property or Personal Property to Which                   506
                         Valuation APPLIES (Strip Down). Under II                 § 1322 (b)(2), this provision does not apply
                         to a claim         solely by Debtor'S principal             A separate motion to determine secured
                         status or to value the collateral must be filed. The secured portion of the claim, estimated below,
                         shall    paid.        otherwise stated in Section E, the payment through the Plan does not include
                         payments for             property taxes or insurance.
      NONE 	              (e)    Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off              11 U.S.C. § 506.
                          Debtor must file a separate motion under § 522 to avoid a judicial    or a non possessory,
                          nonpurchase money              interest      it impairs an exemption or under § 506 to "",•."'rrn
                                 status and to strip a I

[!] NONE 	               (f)      Claims Secnred by Real Property and/or Personal Property to Which Section 506
                         Valuation DOES NOT APPLY Under the Final Paragraph in 11                       § 1325(a). The claims
                         I isted below were either: (I) incurred within 910 days before the petition date and secured     a
                         purchase money security interest in a motor vehicle acquired for the personal use of Debtor; or (2)
                         incurred within one year of the petition date and secured by a purchase money security interest in
                         any other thing    value.        claims will be paid in full     the Plan with interest at the rate
                         stated below.
      NONE 	             (g)    Claims Secured by Real or Personal Property to be Paid with Interest Through the
                         Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full under the
                         Plan with interest at the rate stated below.
.~    NONE 	             (h)   Claims Secured by Personal Property - Maintaining Regular Payments and Curing
                         Arrearage, if any, with AU        in Plan.
      NONE 	             (i)     Secured Claims Paid Directly by Debtor. The following              claims are being made via
                         automatic debit/draft from Debtor's depository account      are to continue to be
                         creditor or lessor by Debtor         the Plan via                      The                 is
                         terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
                         and          upon          of this Plan. Nothing       is intended to           or           Debtor's
                         state law contract

!~    NONE              (j)     Surrender of CollateralJProperty that Secures a Claim. Debtor will surrender the following
                        collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301 (a) is terminated in rem
                        as to Debtor and in rem and in personam as to any codebtor as to these           upon the filing of
                        this Plan.
1 All references to "Debtor" include and refer to bOlh of the debtors in a case filed joinlly by two individuals.                              30f6
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      NONE                (k)     Secured Claims         Debtor Does Not Intend to Pay. Debtor           not intend to make
                          payments to      following secured creditors.     automatic       is terminated in rem as to Debtor
                              in rem and in personam as to       codebtor with respect to these creditors upon the filing  this
                          Plan. Debtor's state    contract rights and defenses are neither terminated nor abrogated.

                6.                                                        and for adequate protection, the Trustee shall
disburse payments to creditors         leases or executory contracts prior to confirmation, as soon as practicable, if the
Plan provides for payment to creditor/lessor, the creditor/lessor has filed a proof of claim or Debtor or
tiled a proof of claim for the secured creditorlJessor under § 50 l(c), and no objection to the claim is pending.
Debtor's payments under the         are timely paid, payments to creditors/lessors under the Plan        be deemed
contractually paid on time.
      NONE                (a)         Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid
                          and                 Cured Through the Plan. Debtor assumes     following leases/executory
                                                       prompt cure of any prepetition       as follows.
~     NONE 	              (b)     Assumption of Leases/Executory Contracts                             Property to be Paid
                          Directly hy Debtor.          assumes the following                  contract        that are paid via
                          automatic debit/draft from          depository account and are to continue to    paid directly to
                          creditor or lessor    Debtor            Plan via automatic debit/draft. The automatic
                          terminated in rem as to Debtor and in rem and in personam as to any
                          and lessors upon the filing this Plan. Nothing herein is intended to
                          state law contract rights.
      NONE 
                                                                            Contracts and Surrender of Real or Personal
                                                                                                                                the




                                                                                                                           $240.00


           I.      Secured creditors, whether or not dealt with under the Plan, shall retain the                             securing such
           claims.

           2.     Payments made to any creditor shall be based upon the amount set forth in the creditor's proof of
           claim or other amount as allowed by an       of the Bankruptcy Court.

           3.     If 	       fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property       estate
                not vest in Debtor until the          of                    or          of this case,        the Court
           orders                       of the estate

                                                                                      of Debtor's discharge or d           this case,        the




1 All references to "Debtor" include and refer to both of the debtors in a case filed jOintly by two indi\liduals.                      4of6
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                 4.      The amounts listed for claims in this Plan are based upon Debtor's best estimate and beliefand/or the
                 proofs of claim as filed and allowed. Unless otherwise ordered by the Court, the Trustee shall only pay
                 creditors with filed and allowed proofs of claim. An allowed proof of claim will control, unless the Court
                 orders otherwise.

                5.      Debtor may attach a summary or spreadsheet to provide an estimate of anticipated distributions. The
                actual distributions may vary. Tfthe summary or spreadsheet conflicts with this Plan; the provisions of the
                Plan control prior to confirmation, after which time the Order Confirming Plan shall control.

                6.      Debtor shall timely file all tax returns and make all tax payments and deposits when due.
               (However, if Debtor is not required to file tax returns, Debtor shall provide the Trustee with a statement to
               that effect.) For each tax return that becomes due after the case is filed, Debtor shall provide a complete copy
               of the tax return, including business returns if Debtor owns a business, together with all related W-2s and
               Form 1099s, to the Trustee within 14 days offiling the return. Unless otherwise ordered, consented to by the
               Trustee, or ordered by the Court, Debtor shall turn over to the Trustee all tax refunds in addition to regular
               Plan payments. Debtor shall not instl'Llct the Internal Revenue Service or other taxing agency to apply a
               refund to the following year's tax liability. Debtor shall not spend any refund without first having
               obtained the Trustee's consent or Court approval.


  E.    NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy Procedure 3015(c). Note: 

  Any nonstandard provisions of this Plan other than those set out in this section are deemed void and are stricken. 


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                                                                                                                                                                                                 - .::.J
                                                                                                                                                                                                    ._ . _ . ...   _...


                                                                                      CERTIFICATION

        By filing this document, the Attorney for Debtor, or Debtor, if not represented by an attorney, certifies 

 that the wording and order of the provisions in this Chapter 13 Plan are identical to those -contained in the 

 Model Plan adopted by this Court, and that this Plan contains no additional or deleted wording or non~tandard 

 provisions other tha.n any nonstandard provisions included in Section E.     -                         .



 SIGNATURE(S):



Debtor(s)


                                                                                                                                             Date 


                                                                                                                                             Date 

1 All refere ees to "Debtor" Include and refer to both of the debtors in a case filed jOintly by two Individuals.




Attorney for Debtor(s)


                                                                                                                                            Date
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                        UNITEU STATES BANKRUPTCY COllRT
                                  UISTRICT   FLORIUA 

                                ORLANUO UIVISION


Palmer Nash                                                   No.: 6: 18-bk-05863-KSJ

_______~~~----------I
                              CERTIFICATE OF SERVICE

      I HEREBY                        a true and correct copy of     Amended            13   has
                       day of               2018        by electronic transmission via CM/ECF or
                      IJV;)ILUK'-' prepaid to the following         as shown on     attached

                               Stacy




                            Stacy A.
                                  S. Vol usia Avenue,
                            Orange City,
                            (386) 775-8228
                                          Debtor(s)
                                 Case 6:18-bk-05863-KSJ         Doc 18         Filed 10/15/18    Page 7 of 7
Label Matrix for local noticing                 NIA WILMINGTON SAVINGS FL1ID SOCIETY, FSB, D    United States Trustee - ORL1/13 7
113A-6                                         RAS        LLC                                   Office of the United States Trustee
Case 6:1S-bk-05863-KSJ                         10100 Abbott's Bridge Road, Suite 1              George C Young Federal Building
Middle District of Florida                            GA 30097-8458                             400 West Washington Street, Suite 1100
Orlando                                                                                         Orlando, it 32801-2210
Mon Oct 15 10:52:07 ED'! 2018
AR Resources                                   Cavalry Portfolio                                        SPV I, LLC
1777 sentry Parkway West                       500 Summit Lake Dr                               500 Summit Lake Drive, Ste 400
Blue Bell, FA 19422-2206                       Suite 400                                        Valhalla, NY 10595-2321
                                               Valhalla, NY 10595-2322


Chris Ditslear                                 Credit One Bank                                  Fannie Mae
129 NWoodland Blvd 15                          PO Box 98875                                     3900 Wisconsin Avenue, N,W.
Deland, FL 32720-4238                          Las        NV 89193-8815                         Washington, DC 20016-2892




Fingerhut                                      Florida            of Revenue                    Ford Motor Credit
6250 Ridgewood ad '                            Bankruptcy Unit                                  PO Box 542000
Saint Cloud, MN 56303-0820                     Post Office Box 6668                                    NE 68154-8000
                                               Tallahassee FL 32314-6668


Internal Revenue Service                      Midland         LLC                               Montgomery Ward
Post Office Box 7346                          2365 Northside Dr 1300                            1112 7th Ave
Philadelphia PA 19101-7346                    San Diego, CA 92108-2709                          Monroe, WI 53566-1364



Popkin , Rosaler                              Robert R Foster
                                                           I
                                                                                                Seventh Avenue/Dr Leonards
1701 West Hillsboro Blvd                      108 Rich Ave I                                    1112 7th Ave
Suite 400                                     Deland, fL 32720-4213                             Monroe, WI 53566-1364
Deerfield Beach, iL 33442-1572


Swiss                                         United Collection Services                        Volusia County Tax Collector
1112 7th Ave.                                 106 Commerce St                                   123 West Indiana Avenue
Monroe, WI 53566-1364                         Suite 101                                         Room 103
                                              Lake Mary, FL 32746-6217                          Deland FL 32720-4615


Laurie KWeatherford                           Palmer Nash                                             AEckert
Post Office Box 3450                          1214 North McDonald Street                        Stacy AEckert PA
Winter Park, FL 32790-3450                    Deland, FL 32724-2525                             2445 South Volusia Avenue
                                                                                                Suite C-l
                                                                                                Orange City, FL 32763-7626

End of Label Matrix
Mailable recipients     23
Bypassed recipients      0
Total                   23
